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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
JEFFREY CUTLER )
) CASE NO. 19-11467
Plaintiff )
)
V. ) JURY TRIAL DEMANDED
)
PHILADELPHIA ACADEMIC
HEALTH SYSTEM, LLC )
)

MOTION TO APPOINT JEFFREY CUTLER TRUSTEE

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Here comes Jeffrey Cutler, acting Pro se, respectfully requests the

Court appoint Mr.Cutler as trustee and custodian for the assets listed

as Hanneman Hospital and intertwined entities and deny the managers

of PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC and

deny Mr. Freednan’s motion in that it may be pursuant to furtherance

of a federal crime which is detrimental to the health and welfare of

the city of Philadelphia, and the Commonwealth of Pennsylvania. Mr.
Cutler a graduate of Drexel University Evening College and a former
elected official of Pennsylvania and the victim of conspiracy to

violate the United States Constitution Ammendment | and based on perjured
information, specifically mail fraud, bank robbery (18 U.S.C. § 2113), and
perjury (18 USC § 1001). The default judgement filed 18JUN2019 (case
5:19-cv-00834) against Brian Sims in his Official Capacity as a
Representative of the Commonwealth of Pennsylvania did shows he willfully
and deliberately violated the United States Constitution Ammend 1 and his
Oath of Office, by actively preventing a woman from praying outside the
Planned Parenthood office in Philadelphia supports a large payout of funds
available to resolve the bankruptcy. Because of case 5:19-cv-00834, in the
Eastern District of Pennsylvania this case is also involved in 19-30223

UNITED STATES BANKRUPTCY COURT DISTRICT OF OREGON.

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Also Mr. Cutler had previously copyrighted a Jeffybond as a means to fund
schools, government projects, hospitals, etc., but because it is somewhat
impervious to kickbacks and corrupttion would not be enacted. Both the
mayor of Philadelphia and Governor have supported keeping the hospital as
an ongoing concern, and unless they (Mayor and Governor) have made false
statements and are part of the swamp there is no reason the Jeffybond cannot
be enacted Drexel University has also filed a legal action that involves
insurance fraud in the Eastern District of Pennsylvania case number 2:19-cv-
2862, just like case 5:19-cv-00834 . The actions involved with Mr. Freedman
may also involve a conspiracy to hide an ongoing criminal enterprise and
other crimes (which may be linked to George Soros organizations)

(18 U.S. Code § 1519 — Destruction, alteration, or falsification of records),
(18 U.S. Code § 1505 — Obstruction of proceedings before departments). The
courts have affirmed, it must “afford a liberal reading to a complaint filed by
a pro se plaintiff,” particularly when the plaintiff has no formal legal training
or education. Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014);
see also Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document filed pro se
is to be liberally construed, and a pro se complaint, however inartfully
pleaded, must be held to less stringent standards than formal pleadings drafted

by lawyers.”) (internal quotations and citations omitted).

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WHEREFORE, for all the foregoing reasons, and the documented murders
of 3 federal employees by Mr. Cutler (Jonnathan Luna, Beranton Whisenant,
and Justin Zemser) 5 children on May 13, 985 and significant
discrimination against other Jewish individuals (11 murdered by Robert
Bowers 2:18-cr-00292), (discrimination by police in Philadelphia polce
department against Jewish Police officers 2:18-cv-05029), Mr Cutler’s
motion in District of Columbia case #1:17-cv-01154 (ECF #79) the

books “Love-Murder-Corruption-Lancaster-County“ and “BLACK
KLANSMAN” and under 28 U.S.C. §157(e) this request should be granted.
Mr. Cutler’s assets and documents of his S corporation (23-261X XXX)

were illegally stollen by persons which had the aid of FBI and members of the
KLU KLUX KLAN. Based on case # 19-30223 UNITED STATES
BANKRUPTCY COURT DISTRICT OF OREGON, the theft of real
property (real estate at bargin prices may be the real goal). Based on the plan
produced by PHILADELPHIA ACADEMIC HEALTH SYSTEM, LLC,
Hanneman will close and very view creditors will be made whole and
previous contributions by George Soros to the democratic party.

<ref> https://whyy.org/articles/soros-weighed-in-with-even-more-money-in-das-race/ </ref/>.

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Respectfully submitted,

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